     Case: 1:18-cv-02306 Document #: 47 Filed: 02/01/19 Page 1 of 1 PageID #:354

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Inmar, Inc., et al.
                                     Plaintiff,
v.                                                    Case No.: 1:18−cv−02306
                                                      Honorable Charles R. Norgle Sr.
Monica Murphy Vargas, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 1, 2019:


         MINUTE entry before the Honorable Charles R. Norgle: Motion to Set a Date for
Initial Status Hearing and to adjourn the Deadline to Submit the Final Pretrial Order and
Jury Instructions [43] is granted. Motion hearing held on 2/1/2019. Counsel shall submit
an agreed schedule or plan within 14 days. A status hearing is set for 3/1/2019 at 10:00
a.m. Mailed notice(ewf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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